Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 1 of 12




             EXHIBIT I
        Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 2 of 12
                                                                .Ja.:
                                                                )fl.


 I   Michael K. Brown (SBN 104252)
     Lisa M. Baird (SBN 179958)                                     F-~--J
 2   Mildred Segura (SBN 21 0850)                                        _-:,~_   ;:-'_
                                                              U)SX\"!1<-l
     Elizabeth G. Minerd (SBN 260971)                                                       '-'-T!
 3   REED SMITH LLP
     355 South Grand Avenue, Suite 2900
4    Los Angeles, CA 90071-1514                                  ;OHN .4_ ., __
     Telephone:    213.457.8000                                     Jv\?J.•X'-!~_
 5   Facsimile:     213.457.8080                             ilY\fANNY ·~·. ,

 6   Attorneys for Defendants
     Medtronic, Inc. and Medtronic Sofamor Danek
 7   USA, Inc.

 8
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                FOR THE COUNTY OF LOS ANGELES
10
II   JOHN COLEMAN,                                  Case No. SCI12290

12                       Plaintiff,                 !PROP®iiED] JUDGMENT OF DISMISSAL
                                                    IN FAVOR OF DEFENDANTS
13          vs.                                     MEDTRONIC, INC. AND MEDTRONIC
                                                    SOFAMOR DANEK USA, INC.
14   MEDTRONIC, INC.; MEDTRONIC SOFAMOR
     DANEK USA, INC.; AND DOES I THROUGH            Compl. Filed:                 April 19, 2011
15   50, INCLUSIVE,                                 FAC Filed:                    November 18, 2011
                                                    SAC Filed:                    February 21,2012
16                       Defendants.                TAC Filed:                    April20, 2012
17                                                  Honorable Cesar C. Sarmiento
                                                    Dept. J
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          [$1$1 6 &] JUDGMENT OF DISMISSAL IN FAVOR OF DEFENDANTS MEDTRONIC, INC. AND
                                  MEDTRONIC SOFAMOR DANEK USA, INC.
   Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 3 of 12



        Pursuant to this Court's order dated June 13,2012, sustaining Defendants Medtronic, Inc.

and Medtronic Sofamor Danek USA, Inc.'s ("Medtronic") Demurrer to Plaintiff's Third Amended

Complaint without leave to amend,



        IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff's Third Amended

Complaint is DISMISSED WITH PREJUDICE. A final JUDGMENT OF DISMISSAL is

hereby entered against Plaintiff and in favor of Medtronic. Plaintiff shall take nothing by way of his

claims against Medtronic and Medtronic is entitled to recover its costs of suit.


DATED:      G-))....-/]_




                                                 -I -
      1j:    52£] JUDGMENT OF DISMISSAL IN FAVOR OF DEFENDANTS MEDTRONIC, INC. AND
                           MEDTRONIC SOFAMOR DANEK USA, INC.
                                         c.
                       Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 4 of 12
                                          :;t_
                                                                                    t
            1                                           PROOF OF SERVICE
                                                 John Coleman vs. Medtronic, Inc., et at.
            2                                             Case No. SC112290

            3           I am a resident of the State of California, over the age of eighteen years, and not a party to
                 the within action. My business address is REED SMITH LLP, 355 South Grand Avenue, Suite
            4    2900, Los Angeles, CA 90071-1514. On June 18,2012, I served the following document(s) by the
                 method indicated below: [PROPOSED] JUDGMENT OF DISMISSAL IN FAVOR OF
            5
                 DEFENDANTS MEDTRONIC, INC. AND MEDTRONIC SOFAMOR DANEK USA, INC.
            6

            7    D       by transmitting via email to jgocallaltan@girardikeese.com and cteeman@girardikeese.com
                         on the noted date the document(s) listed above.
            8
                 [g)     by placing the document(s) listed above in a sealed envelope with postage thereon fully
            9            prepaid, in the United States mail at Los Angeles, California addressed as set forth below. I
                         am readily familiar with the firm's practice of collection and processing of correspondence
            10           for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
     ~                   same day with postage thereon fully prepaid in the ordinary course of business. I am aware
     ..•• 11             that on motion of the party served, service is presumed invalid if the postal cancellation date
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                         or postage meter date is more than one day after the date of deposit for mailing in this
            12           Declaration.
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            13   D        by placing the document(s) listed above in a sealed envelope(s) and by causing personal
                          delivery of the envelope(s) to the person(s) at the address(es) set forth below. A signed proof
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<n                        of service by the process server or delivery service will be filed shortly.
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            15   D        by personally delivering the document(s) listed above to the person(s) at the address(es) set
                          forth below.
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            17
                 D        by placing the document(s) listed above in a sealed envelope(s) and consigning it to an
                          express mail service for guaranteed delivery on the next business day following the date of
                          consignment to the address(es) set forth below. A copy of the consignment slip is attached to
            18            this proof of service.

            19   Jim O'Callahan                                         Attorneys for Plaintiff
                 Thomas V. Girardi
            20   Girardi Keese                                           Tel: (213) 977-0211
                 1126 Wilshire Blvd.                                     e-mail: jgocallahan@girardikeese.com
            21   Los Angeles, CA 90017

            22
                         I declare under penalty of perjury under the laws of the State of California that the above is
            23   true and correct. Executed on June 18, 2012, at Los Angeles, California.           ~




                                                                       ~~ I~
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            25                                                       SGarcia

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                                                                Proof of Service
                                                                                                           US_ACTIVE-107113838. 1
                    Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 5 of 12


             I   Michael K. Brown (SBN 104252)
                 Lisa M. Baird (SBN 179958)
            2    Mildred Segura (SBN 21 0850)
                 Elizabeth G. Minerd (SBN 260971)
             3   REED SMITH LLP
                 355 South Grand Avenue, Suite 2900
             4   Los Angeles, CA 90071-1514
                 Telephone:     213.457.8000
             5   Facsimile:    213.457.8080

             6   Attorneys for Defendants
                 Medtronic, Inc. and Medtronic Sofamor Danek
             7   USA, Inc.

             8
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
             9
                                            FOR THE COUNTY OF LOS ANGELES
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      •••
     ~      II   JOHN COLEMAN,                                 Case No. SC112290
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     s
     ill    12                       Plaintiff,                NOTICE OF RULING SUSTAINING
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...J ;;                                                        DEFENDANTS MEDTRONIC, INC. AND
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            13          vs.                                    MEDTRONIC SOFAMOR DANEK USA,
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      E                                                        INC.'S DEMURRER TO PLAINTIFF'S
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     ";;.
            14   MEDTRONIC, INC.; MEDTRONIC SOFAMOR            THIRD AMENDED COMPLAINT
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w                DANEK USA, INC.; AND DOES I THROUGH
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                                                               WITHOUTLEAVE TO AMEND
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            15   50, INCLUSIVE,
                                                               Compl. Filed:       April 19, 2011
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            16                       Defendants.               FAC Filed:          November 18, 2011
     _§                                                        SAC Filed:          February 21,2012
     "      17                                                 TAC Filed:          April 20, 2012
            18                                                 Honorable Cesar C. Sarmiento
                                                               Dept. J
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                    NOTICE OF RULING SUSTAINING DEFENDANTS' DEMURRER TO PLAINTIFF'S THIRD AMENDED
                                          COMPLAINT WITHOUT LEAVE TO AMEND
                     Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 6 of 12



              I          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

              2          PLEASE TAKE NOTICE that on June 13,2012, the Honorable Cesar C. Sarmiento of the

              3   above-entitled Court sustained Defendants Medtronic, Inc. and Medtronic Sofamor Danek USA,

              4   Inc.'s ("Medtronic") Demurrer to Plaintiffs Third Amended Complaint without leave to amend. A

              5   true and correct copy of the Court's minute order is attached hereto as Exhibit "A."

              6

              7   DATED: June 18,2012                                  REED SMITH LLP

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              9                                                     ich I K. Brown c
                                                                  Mildred Segura
             10                                                   Elizabeth G. Minerd
       ••
        •                                                         Attorneys for Defendants
       '.l   II                                                   Medtronic, Inc. and Medtronic Sofamor Danek
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                                                                  USA, Inc.
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                     NOTICE OF RULING SUSTAINING DEFENDANTS' DEMURRER TO PLAINTIFF'S THIRD AMENDED
                                           COMPLAINT WITHOUT LEAVE TO AMEND
                   Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 7 of 12


            SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE: 06/13/12                                                                                DEPT. WE-J
HONORABLE   CESAR C. SARMIENTO                     JUDGE      MANNY       MABUNGA           DEPUTY CLERK

HONORABLE                              JUDGE PRO TEM                                   ELECTRONIC RECORDING MONITOR

            NONE                             Deputy Sheriff   NONE                                 Reporter

 4:00pm SC112290                                              Plaintiff
                                                              Counsel
             JOHN COLEMAN                                                  NO APPEARANCES
             VS                                               Defendant
             MEDTRONICS CORPORATION ET.             AL.       Counsel

             VOL. 3 IS OPEN VOL. & IN DEPT.
             VOL. 2 IS BEHIND DEPT. I
             NATURE OF PROCEEDINGS:

             DEFENDANT'S DEMURRER TO THE THIRD AMENDED COMPLAINT:
             In the above-matter heretofore submitted, the court
             rules as follows:
             RULING:
             Defendants' Demurrer is Sustained Without Leave to
             Amend.
             ANALYSIS:
             1.                  Prior Rulings
             The Court sustained a demurrer to the Second Amended
             complaint with leave to amend, noting that Plaintiff
             filed a proposed Third Amended Complaint with the
             opposition to the demurrer that appeared to cure
             many of the subject defects. The Court held that
             Plaintiff could NOT state a claim for strict
             liability under a desi~n defect theory, and
             sustained a demurrer w~thout leave to amend to that
             claim. The Court held that Plaintiff could state a
             cause of action, per Riley, based on a failure to
             warn theory relating to off-label promotion of the
             subject product.
             2.                  First Cause of Action
             Plaintiff filed his Third Amended Complaint, which
             includes a first cause of action for strict
             liability   design defect, despite the Court's

                                                                                             MINUTES ENTERED
                                      Page         1   of        5        DEPT. WE-J         06/13/12
                                                                                             COUNTY CLERK
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                    Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 8 of 12


              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   06/1.3/12                                                                              DEPT. WE-J
HONORABLE   CESAR C. SARMIENTO                      JUDGE      MANNY MABUNGA                DEPUTY CLERK

HONORABLE                               JUDGE PROTEM                                    ELECTRONIC RECORDING MONITOR

            NONE                              Deputy Sheriff   NONE                                Reporter

 4:00 pm SC112290                                              Plaintiff
                                                               Counsel
             JOHN COLEMAN                                                  NO APPEARANCES
             VS                                                Defendant
             MEDTRONICS CORPORATION ET.              AL.       Counsel

             VOL. 3 IS OPEN VOL. & IN DEPT.
             VOL. 2 IS BEHIND DEPT. I
              NATURE OF PROCEEDINGS:
              admonishment not to include such a cause of action
              in the Third Amended Complaint. Defendants note
              this in their demurrer, and Plaintiff's opposition
              is entirely silent in this regard. The demurrer is
              sustained without leave to amend.
              3.                  Stengel     .
              The Court, on 4/12/12, in ruling on the demurrer to
              the SAC, held that the proposed TAC adequately
              stated a claim for failure to warn based on
              off-label use of the subject product. The Court
              relied on Riley v. Cordis Corp. (D. Minn. 2009) 625
              F.Supp.2d 769, 776-777 in rendering its decision.
              Several days after the Court's 4/12/12 ruling, the
              9th Circuit issued a ruling in Stengel v. Medtronic,
              Inc., 676 F.3d 1159 (9th Cir. 2012). Defendants
              ar~e that, with the issuance of the Stengel
              op~nion, it is now clear that Plaintiff cannot state
              a cause of action for failure to warn under an
              off-label promotion theory.
              After reviewing Stengel and considering the oral
              arguments, as well as the other cases cited by the
              parties, the Court is inclined to sustain the
              demurrer without leave to amend at this time. The
              Court has, at all times in considering this case,
              relied heavilr on dicta in Riley, supra, suggesting
              that a plaint~ff could state a claim based on
              off-label promotion if the plaintiff alleged (a)
              Defendants affirmatively promoted the off-label use

                                                                                             MINUTES ENTERED
                                       Page         2 of          5        DEPT. WE-J        06/13/12
                                                                                             COUNTY CLERK
                   Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 9 of 12


              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   06/13/12                                                                            DEPr. WE-J
HONORABLE   CESAR C . SARMIENTO                    JUDGE      MANNY MABUNGA              DEPUTY CLERK

HONORABLE                              JUDGE PROTEM                                    ELECTRONIC RECORDING MONITOR

            NONE                             Deputy Sheriff   NONE                               Reporter

 4:00pm SC112290                                              Plaintiff
                                                              Counsel
             JOHN COLEMAN                                                 NO APP~CES
             VS                                               Defendant
             MEDTRONICS CORPORATION ET. AL.                   counsel

             VOL. 3 IS OPEN VOL. & IN DEPT.
             VOL. 2 IS BEHIND DEPT. I
             NATURE OF PROCEEDINGS:

             of the subject device in a manner that violates
             federal law, and (b) that, while promoting the
             device in violation of federal law, Defendant failed
             to include adequate warnings and directions about
             the off-label use that it was promoting. As noted
             above, however, this portion of Riley was purely
             dicta.
             Stengel relied on an implied preem~tion finding to
             conclude that claims based on a fa~lure to warn
             based on failure to report adverse events to the FDA
             were barred.  The Court held that these claims were
             impliedly preempted because they would involve
             imposing a state requirement that is different from
             or in addition to the federal requirement and
             therefore preempted.
             When read in connection with Riegel and the other
             cases cited by Defendant, it appears the courts are
             heading in the direction of finding implied
             preemption for Plaintiff's claims. As Defendant
             notes, Plaintiff would require Defendant to give
             warnings different from, or in addition to, those
             required by the FDA.
             After reviewing the cases, and after hearing oral
             argument on the issues, the Court finds that Riley
             was mere dicta, and that Plaintiff has not pled a
             claim against Defendant that survives the preemption
             defense.  The demurrer is therefore sustained
             without leave to amend at this time.

                                                                                           MINUTES ENTERED
                                      Page        3 of           5        DEPT. WE-J       06/13/12
                                                                                           COUNTY CLERIC
               Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 10 of 12


              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   06/13/12                                                                                  DEPT. WE-J

HONORABLE   CESAR C . SARMIENTO                    JUDGE      MANNY           MABUNGA           DEPUTY CLERK

HONORABLE                               JUDGE PRO TEM                                      ELECTRONIC RECORDING MONITOR

            NONE                             Deputy Sheriff   NONE                                     Reporter

 4: 00 pm SC112290                                            Plaintiff   ~
                                                              Counsel
             JOHN COLEMAN                                                      NO APPEARANCES
             VS                                               Defendant
             MEDTRONICS CORPORATION ET. AL.                   Counsel

             VOL. 3 IS OPEN VOL. & IN DEPT.
             VOL. 2 IS BEHIND DEPT. I
             NATURE OF PROCEEDINGS:


             Counsel for defendant is ordered to prepare a Judgment
             of Dismissal.
                        CLERK'S CERTIFICATE OF MAILING

             I, the below-named Executive Officer/Clerk of the
             above-entitled court, do hereby certify that I am
             not a party to the cause herein, and that on this
             date I served the
             MINUTE ORDER RE ROLING ON SUBMITTED MATTER:
             upon each party or counsel named below by placing
             the document for collection and mailing so as to
             cause it to be deposited in the United States mail
             at the courthouse in SANTA MONICA,
             California, one copy of the original filed/entered
             herein in a separate sealed envelope to each address
             as shown below with the postage thereon fully prepaid,
             in accordance with standard court practices.

             Dated: JUNE 13,2012
             John A. Clarke, Executive Officer/Clerk

             By:
                            MANNY MABUNGA




                                                                                                 MINUTES ENTERED
                                      Page        4 of           5            DEPT. WE-J         06/13/12
                                                                                                 COUNTY CLERK
                  Case 2:13-cv-00512-GMS
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                                          Document 32-9 Filed 05/20/13 Page 11 of 12


              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   06/13/12                                                                              DEPT. WE-J
HONORABLE   CESAR C. SARMIENTO                     JUDGE      MANNY MABUNGA                DEPUTY CLEEK

HONORABLE                              JUDGE PROTEM                                    ELECTRONIC RECORDING MONITOR

            NONE                             Deputy Sheriff   NONE                                Reporter

 4:00pm SC112290                                              Plaintiff
                                                              Counsel
             JOHN COLEMAN                                                 NO APPEARANCES
             VS                                               Defendant
             MEDTRONICS CORPORATION ET. AL.                   Counsel

             VOL. 3 IS OPEN VOL. & IN DEPT.
             VOL. 2 IS BEHIND DEPT. I
             NATURE OF PROCEEDINGS:

             CHRISTINE CHALLONER,ESQ.
             Girardi & Keese
             1126 Wilshire Blvd.
             Los Angeles, ca 90017

             MICHAEL BROWN,ESQ.
             Reed Smith
             355 south Grand Avenue,Suite 2900
             Los Angeles, Ca 90071




                                                                                            MINUTES ENTERED
                                      Page         5 of          5        DEPT. WE-J        06/13/12
                                                                                            COUNTY CLERK
                     Case 2:13-cv-00512-GMS Document 32-9 Filed 05/20/13 Page 12 of 12
                                        I                                          t
            I                                         PROOF OF SERVICE
                                               John Coleman vs. Medtronic, Inc., et at.
            2                                           Case No. SC112290

            3            I am a resident of the State of California, over the age of eighteen years, and not a party to
                 the within action. My business address is REED SMITH LLP, 355 South Grand Avenue, Suite
            4    2900, Los Angeles, CA 90071-1514. On June 18, 2012, I served the following document(s) by the
                 method indicated below: NOTICE OF RULING SUSTAINING DEFENDANTS
            5
                 MEDTRONIC, INC. AND MEDTRONIC SOFAMOR DANEK USA, INC.'S DEMURRER
            6    TO PLAINTIFF'S THIRD AMENDED COMPLAINT WITHOUT LEAVE TO AMEND

            7
                 0      by transmitting via email to jgocallahan@girardikeese.com and cteeman@girardikeese.com
            8           on the noted date the document(s) listed above.

            9    ~      by placing the document(s) listed above in a sealed envelope with postage thereon fully
                        prepaid, in the United States mail at Los Angeles, California addressed as set forth below. I
            10          am readily familiar with the firm's practice of collection and processing of correspondence
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                        for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
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            11          same day with postage thereon fully prepaid in the ordinary course of business. I am aware
                        that on motion of the party served, service is presumed invalid if the postal cancellation date
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-'    ~                 Declaration.
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            17          by placing the document( s) listed above in a sealed envelope( s) and consigning it to an
                 0      express mail service for guaranteed delivery on the next business day following the date of
            18          consignment to the address(es) set forth below. A copy of the consignment slip is attached to
                        this proof of service.
            19
                 Jim O'Callahan                                       Attorneys for Plaintiff
            20   Thomas V. Girardi
                 Girardi Keese                                         Tel: (213) 977-0211
            21   1126 Wilshire Blvd.                                   e-mail: jgocallahan@girardikeese.com
                 Los Angeles, CA 90017
            22

            23           I declare under penalty of perjury under the laws of the State of California that the above is
                 true and correct. Executed on June 18,2012, at Los Angeles, California.
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